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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SAUL SABINO,

                           Plaintiff ,
                                               21-cv-5731 (JGK)
               -against-
                                               ORDER OF SERVICE
PORT AUTHORITY POLICE
DEPARTMENT , ET AL . ,

                           Defendants.

JOHN G. KOELTL , United States District Judge :

     By Memorandum Opinion and Order dated September 1 , 2021,

the Court directed the Port Authority of New York & New Jersey

("Port Authorityu) to provide the prose plaintiff with the

identity and badge number of each John Doe defendant and the

address where each John Doe defendant may be served . See ECF No.

11. On November 1 , 2021 , the Port Authority identified the two

John Doe defendants and provided the prose plaintiff with the

following service addresses:

     Police Officer Joffre G. Cortez (badge no. 2102)
     The Port Authority of New York and New Jersey
     4 World Trade Center, 23rd Fl.
     New York, New York 10007

     Police Officer John - Patrick Natiku (badge no. 2377)
     The Port Authority Police Department
     George Washington Bridge
     Police Administration Building
     220 Bruce Reynolds Boulevard
     Fort Lee , New Jersey 07024

     Because the plaintiff has been granted permission to

proceed IFP, he is entitled to rely on the Court and the United


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States Marshals Servi c e to effect service . Walker v . Schult , 717

F . 3d. 119, 123 n . 6 (2d Cir . 2013 ) ; 28 U. S . C . § 1915 (d )    ("The

o fficers o f the court shall issue and serve all process [in IFP

cases]. " ) ; Fed . R. Civ . P . 4 (c ) ( 3 )   (the court must order the

United States Marshals Service to serve if the plaintiff is

authorized to proceed IFP ) . Although Federal Rule of Ci vil

Procedure 4 (m) generally requires that the summons and complaint

be served within 90 days of the date the complaint is filed , the

plaintiff is proceeding IFP and was not informed by the Port

Authority of the identities of the John Doe defendants until

November 1 , 2 0 21 . The Court therefore extends the time t o serv e

until 9 0 days after the date of this Order . If the complaint is

not   served within that time , the plaintiff should request an

extension of time for service . See Meilleur v. Strong , 682 F.3d

56 , 63   (2d Cir . 2012 )    (providing that it is the plaintiff ' s

responsibility to request an extension of time for service ) ; see

als o Murray v. Pataki, 37 8 F . App ' x 5 0 , 52       (2d Ci r. 201 0)   ( "As

l o ng as the [plaintiff proceeding IFP] provides the inf o rmati o n

necessary to identify the defendant , the Marshals' failure t o

effect service automatically constitutes ' good cause '               f o r an

extension of time within the meaning of Rule 4 (m) ." (citations

omitted )) .

       To allow the p l aintiff to effect service on Officer Joffre

G. Cortez and Officer John - Patrick Natiku through the United


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States Marshals Service , the Clerk of Court is directed to fill

o ut United States Marshals Service Process Receipt and Return

forms    (USM - 285 forms ) for these defendants. The Clerk of Court

is further directed to issue summonses and deliver to the

Marshals Service all the paperwork necessary for the Marshals

Service to effect service upon these defendants.

        The Clerk of Court i s further directed to remove the John

Doe defendants from the docket and to replace them with Officer

Joffre G. Cortez and Officer John - Patrick Natiku. The Clerk o f

Court is further directed to mail a copy of this Order to the

plaintiff and t o note serv ice on the docket.

SO ORDERED .

Dated:       New York, New York
             November 2, 2021



                                          United States District Judge




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           DEFENDANTS AND SERVICE ADDRESSES

Police Officer Joffre G. Cortez (badge no. 2102)
The Port Authority of New York and New Jersey
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